
Court of Claims jurisdiction. — Plaintiff alleges that he contracted with the Cape-Atlantic Legal Services Project (an independent organization receiving federal funding through the Office of Economic Opportunity) to receive legal services and that he was unlawfully deprived of such services for several reasons. This case comes before the court on defendant’s motion to dismiss the petition and on plaintiff’s renewed *779motion for an appointed attorney and response to defendant’s motion to dismiss. Upon consideration thereof, without oral argument, the court concludes that plaintiff’s petition fails to state a cause of action within the jurisdiction of this court. On November 24, 1971, by order, the court granted defendant’s motion and dismissed the petition.
